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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 SOCIAL POSITIONING INPUT
 SYSTEMS, LLC,                                        C.A. 1:21-CV-11594-NMG

                          Plaintiff,                  JURY TRIAL DEMANDED
     v.
                                                      PATENT CASE
 ACCUTRACKING, INC.,

                          Defendant.

JOINT STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE

          Plaintiff Social Positioning Input Systems, LLC, and Defendant AccuTracking, Inc., by

their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

          1.     All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all counter-claims asserted by the Defendant in this Action are dismissed without prejudice under

Fed. R. Civ. P. 41(a)(1)(A)(ii);

          2.     Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

          This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: November 18, 2021                 Respectfully Submitted,

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                                         ATTORNEYS FOR DEFENDANT




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

on November 18, 2021.

                                                      /s/ Qiuyi Wu
                                                      Qiuyi Wu




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